Case 9:18-cv-81385-KAM Document 1 Entered on FLSD Docket 10/16/2018 Page 1 of 37




                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

         DA V ID HA DD EN                         Registered Agent: CP Corporation System
                    Plaintiff                                       1200 S.Pinelsland Rd.
                                                                     Plantation;Fla.33324
         UN IVERSITY ACCOUNTING SERVICES,RICHLAND               ,
                                                                     Jone Larson
         STATE BAN K and TR AN SW ORLD SY STEM S IN C               3409 W 47thstreej           .


                    Defendants                                      Sioux Falls,South Dakota
                         ,
                                                               Eglyy . ge                  ..

                                                                     02T l5 2212
                                          '                         STEVEN M LARIMORE
                                  COM PLAINT                        CLERKU,i.DI
                                                                              SEC'
                                                                                 E
                                                                     S.D.O FFL.A.-w .nB.
                                                                              *
                                                                          .




         Plaintiff,David Hadden,appeadngProsein theinstantaction hereby,suesD efendants

  llichland State-Bank,University Accounting Selwices,and Transworld System slncand stateas

  follow s:

                                JUR ISD ICTIO N AN D VEN UE

     1. Thisisan action fordam agesin excessof$15,000,exclusive ofinterestand costs,
                                                                                   arising

         tlndCrSecyion5(a),3(m)(1)(A),13(b),and16(a)oftheF'
                                                          ederalTradeCommission(ITTC
         Act'')15U.S.Cjj45(a),45(m)(1)(A),53(b),and 56(a);theFairCreditReportingAct
         ($TCRA''),15,U.S.C.jj 1681-1681x;16U.S.C.j1681s-2((a)(2)(B);theFairDebt
         CollectionPracticesAct(STDCPA''),15U.S.C.j1692eetseq,in additiontofraud and
         negligencetoobtainmonetarycivilpenalties,actualdamages,apermanentinjtmction,
         and otherequitablereliefforDefendantsviolation oftheFCRA,and theFDCPA.

     2. ThisCout'thasjurisdictionoverthismatterunder28U.S.C jj1331,1337(a),1345,and
         1355,andunder15U.S.C jj45(a)(1),45(m)(1)(A),53(b),1681s,and 169921.
                                                     !
Case 9:18-cv-81385-KAM Document 1 Entered on FLSD Docket 10/16/2018 Page 2 of 37




        VenueisproperinthisDistrictCourtunder28U.S.C.jj1391(b)-(c),1395(a),and 15
        U.S.C.j53(b)
        II.

                        PARTIES & BACK GROUND

        A . Plaintiff

     4. ThePlaintiffDavilHaddenisacitizenandresidentofPalm beach Cotmty,Florida.
                          /                                 .'


     5. In oraboutJanuary 2013 PlaintiffDavid Hadden wantedto f111611hisdream sand decided

        to go back to Collegeforthepurposeofobtaining hisBachelorofArt'sDegreeand

        continuing hiseducation to eal'
                                      n hisJurisPrudenceDegreeto smdy law.

     6. Atthetime,David Hadden had no CollegeDegree.Hadden firstattended Keiser

        University where Plaintiffapplied foralzeducationalloan tosupplem entand pay forhis

        coursesand otherliving expensesnecessary forcompleting llisAssociate Degree.

     7. Thebarlk KeiserUniversity workedwith to approvePlaintiffsloan and receive funding

        wasRichland StateBnnk whoseheadquartersisstationed in South Dakota.

     8. Priorto applying fortheloanfrom Richland StateBnnk DavidHadden inquired aboutthe

        repaym entoftheloan and had requested adefennentand/orforbearance on thepaym ents

        untilafterhe had com pleted his education.

     9. Itwasim portantto DavidHaddenherequestand begranted deferment,becausePlaintiff

        had comm itted him selfto full-tim estudying,graduating and entering 1aw schoolin the

        fall2015 withoutthe burden and stressofrepaymentof:debtwhile attending college.

     10.Atthistim e,PlaintiffDavidHaddenhad no outstanding debtsin hislife,orlegal

        obligationsregarding debt.
Case 9:18-cv-81385-KAM Document 1 Entered on FLSD Docket 10/16/2018 Page 3 of 37




     11.PlaintiffDavid Hadden wasassured by Richland StateBank,thelending institution

        workingtlzrough KeiserUniversity thatPlaintiffwould beprovided an interim period,

        also known asafulldeferm enton theloan ifapproved.Thedefermentperiodwasstated

        tobeginimmediatelyuponapprovaloftheloanforaperiodofTwenty-Fbtlrmonths(24)
        with optionsand/oraccom modationsextending up to Fiftp Fourmonths.

     12.On Septem ber4,2014 PlaintiffDavidHadden wasapproved fordisbursem ent,and a full-

        defermentand/orforbearanceon hisloanfrom Richland StateBanlc,which precluded

        PlaintiffDavid Hadden from bearingany responsibility from im mediately bqing required

        to makepaym entswhilehe attended Collegeatleasthalf-tim ewith satisfactory grades.

        (SeeExhibitA,attached hereto).
     13.ThePartiesdocum entsshowinga deferm entrequestdate and approvalofdefermentwas

        provided to David Hadden,by Richland StateBank,intending to representDavid

        Hadden'srequestfordefennenthad been approved,and in wlzich,DavidHadden relied

        0n .

     14.Atal1timespertaining to the instantactionPlaintiffDavid Hadden,did in factattend

        Collegefulltime and maintained satisfactory gradesin which wasrequired and/or

        expected ofPlaintiff

     15.Atnotim einvolving the instantaction,wasDavidHadden notlfied by Richland State

        Bank,DefendantwassellingPlaintifpsloan orby University Accounting Services,

        (UAS)and/orTransworldSystemsInc.sDefendantswereservicingPlaintiffsloan,or
        wereDebtcollectorswhoheld a Iien on Hadden'soriginalloan from Richland State

        Banlt.

                                       3
Case 9:18-cv-81385-KAM Document 1 Entered on FLSD Docket 10/16/2018 Page 4 of 37



     16.In oraboutAugust2014 PlaintiffDavid Hadden,did in factgraduatefrom Keiser

        University earning PlaintiffsAssociateofArtsDegree,asPlaintiffcontinuedhis

        educationapplyingand beingacceptedatFloridaAtlanticUniversity(FAU)toennn
        PlaintifrsBachelorofArtsDegree.

     17.Duringthistime,in oraboutDecember2014 PlaintiffDavid Hadden now believeshe

        couldhavebeencontactedbyarepresentativeofUniversityAccotmting Services(UAS)
        and/orTransworld System sInc.whohad inquired onlv aboutPlaintiffDavidHadden's

        educationalstatus.

     18.PlaintiffDavid Hadden didnotknow who thecalloriginated from becausetheperson

        who madethe callneveridentifed herselfatthetime ofthecall;albeit,Plaintiff

        rem emberthe'callerbeing female,orhaving afem alevoice.

     19.David Hadden however,believed thecalleratthetim ewasarepresentativeofRichland

        StateBank,whointended to confirm afterPlaintiffhad graduated from KeiserUrliversity

        Plaintiffwasattending College at-leasthalf-tim e,and receiving satisfactory grades,a

        necessary requirem entforcontinued deferm enton Plaintiff'sloan.

     20.Notwithstandingjthe callwasvery briefasthe callerhad nootherquestionsorconcerns

        butto know PlaintiffDavid Hadden'seducationalstatusatthetim e.

     21. David Hadden confirmed Plaintifpsfull-time educationalstatusattending Florida

        AtlanticUniversity (FAU).
     22.ExceptforPlaintiffDavid H adden being contacted by a person on Plaintiff'scellular

        phonein oraboutDecem ber2014 whom Plaintiffnow believescould havebeen a



                                    4
Case 9:18-cv-81385-KAM Document 1 Entered on FLSD Docket 10/16/2018 Page 5 of 37



        representative ofeithernam ed Defendantsin thissuit,Plaintiffcategorically deny ever

        being contacted by m ail,telephone,em ailaddressorany otherform by eithernnm ed

        Defendantnnm ed in thissuit.

     23.Atthistime,DefendantsUniversityAccountingServices(UAS)and/orTransworld
        SystemsInc.hadkrlown orshould have known PlaintiffDavid Hadden'sdeferm ent

        agreementallowed PlaintiffDavidHadden continued deferm enton Plaintiff'sloan he

        received in Septem ber2014.

     24.Although a1lDefendants,includingUniversity Accounting Services,and Transworld

        System sInc.had known PlaintiffDavid Hadden contactinformation thatincludes

        telephonenum ber,mailingaddress,e-m ailaddress,and P.O.Box addressatthe tim e

        Defendantsreceived Plaintiff'saccountin 2014,atno timewasPlaintiffDavid Hadden,

        orhisem ergency contactpersonswhom Defendantshad known addressand telephone

        numberscontacted by Defendantsrelating to repaymentofPlaintiffsloan oradelinquent

        accountstatus.(SeePlaintiffExhibitB)
     25.In August2015,PlaintiffDavid Hadden had been scheduled to graduateathishom e

        collegeFloridaAtlanticUniversity wherehewould im mediately attendlaw schoolafter

        graduation.
     26.However,priorto Plaintiff sgraduation ceremony in June2015,while attepdingBroward

        College forthe sole purpose ofcom pleting a foreign language classcourse required

        beforegraduatingatFloridaAtlanticUniversity,(FAU)Plaintifffiledacivilsuitagainst
        Broward Collegefordenying Plaintiffaccesstotheforeign languagecoursePlaintiffhad

        been registered.

                                       5
Case 9:18-cv-81385-KAM Document 1 Entered on FLSD Docket 10/16/2018 Page 6 of 37



     27.Atthistim e,David Hadden paid and had been studying withKaplan and scheduledto

        taketheJune8,2015,Law SchoolAdmissionTest(LSAD dateinwhichPlaintiffwould
        im m ediately attend law school.

     28.Dueto thisincidentand the civilsuitthatensued,am ong otherthings,PlaintiffDavid

        Haddenw asunableto continuePlaintiffseducation in ptlrsuanceofPlaintiffs1aw

        degree in theyearof2015which continued through 2017;albeit,Plaintiffin fact,did

        receiveand graduate with hisBachelorofArtsDegree.

        B. D efendants

     29.Itichland StateBank isa financialinstitution with itsprincipalplace ofbusinesslocated

        at3409 W .47th street, Suite 106,Sioux Falls,South Dakota57106.Ata11tim esrelevant

        to this action,Richland State Bank hastransacted businessin thisD istrict.

     30.University Accounting Services,LLC who also goesby thenameCCUAS''in whichwould

        berefen-edtointhissuitas(tCUAS'')isaW isconsinlimitedliabilitycompanywithits
        principalplaceofbusinesslocated at918 Brookfeld W isconsin 53008 wlzich operates

        outofalocalofficelocated at1200 South PineIsland Rd,Plantatiop Florida33324.At

        a11tim esrelevantto thisCom plaint,University Accotmting Serviceshastransacted

        business in thisD istrict.

     31.Transworld Systems1ncisbelieved to bealimited liability company with am ailing

        addresslocated atP.O.Box 15618,W ilmington DE 19850.1tsregistered agentisthe

        snm e asidentitied w ith U niversity A ccounting Services,CP Corporation,1200 S.Pine

        lsland Rd.,Plantation Florida 33324.
Case 9:18-cv-81385-KAM Document 1 Entered on FLSD Docket 10/16/2018 Page 7 of 37




     32.University Accounting Services,L.L.C.and Transworld System sInc areçtdebt

        collectors''asdefinedinsection 80346)oftheFDCPX 15U.S.C.â1692a(6).Aspartof
        itsdebtcollection activities,University Acbotmting Services,arld Transworld System s

        Inc.furnishesinform ation to consllm erreporting agencies.Assuch,University

        AccountingServicesL.L.C.andTransworldSystemsInc.isapersonorentitysubjectto
        section623oftheFCRA.,15U.S.C.j168ls-2,which'
                                                   imposesaseriesofdutiesand
        prohibitionsupon any person orentity thatfurnishesinformation to aconsum erreporting

        âgency.

     33.Theterm Ghconsum er''asused in thisCom plaintm çansany naturalperson obligated or

        allegedobligatedtopayanydebt,asStdebt''isdefinedinSection 80345)oftheFDCPA,

        15U.S.C.j 1692a(5).

                    GENERAL ALLEGATIONS

     34.ln oraboutJanuary2018,PlaintiffDavid Hadden began focusinghislifeand plansto

        continue his drenm s to attend and com plete 1aw school.

     35.Dlzringthistim e,PlaintiffDavid Hadden had paid forhiscourseswith Kyplan,a
        company thathelp prepazestudentsfortesting andpassingtheLaw SchoolAdm ission

        Test(LSAT)thatwasscheduledinM ay2018tobeginstudyinginpreparationtotakethe
        Law SchoolAdmission Test(LSAT)forJtme2018.
     36. David Hadden,had been speaking with severallending institutionsin which Plaintiffhad

        anticipated consolidatingPlaintiffsdomesticbillsand othersnancesto among other

        things,prepare and graduate from law school.
Case 9:18-cv-81385-KAM Document 1 Entered on FLSD Docket 10/16/2018 Page 8 of 37




     37.Atthistime,DavidHaddenhadacreditrating scoreofjustoversevenhundred.Plaintiff
        isawareofthisscorebecausehehadrecently applied and received a new creditcard

        from HomeDepotand Equity M ax wherehewasapprovedforacreditextension with a

        creditscoreshowingaratingofSeveilHundred andeight.(708).
     38.ln June2018,afterapplying with thelending institution,Lending Tree,to consolidate

        Plaintifpsbills,Plaintiffwasalarm ed to fnd outhewastunzed down fortheloan dueto

        negativecfeditreporting againstPlaintiffscredit.
     39.TheLending.lnstitm ion,Lending Tree,confinned with David Hadden thatPlaintiffhad

        negativecreditreporting ag'
                                  ainstPlaintiff'screditfrom EvergladesCollege,and UAS,

        accountsDavid Hadden did notrecognize,and did notowed a debt.

     40.Following extensiveresearch and investigation PlaintiffDavid Hadden foundthecontact

        numbersoftheabove-nam ed Defendants,Richland StateBank,University Accounting

        Services,and Transworld System sInc.

     41.On June 11,2018 David Hadden contacted Itichland StateBnnk and spokewith the

        bnnk'sPresidentJoneLarson.

     42.David Hadden discussed Plaintiffsconcern raised in theinstantcom plaintofDavid

        Haddennotowing adebton the abovereferenced accountand Plqintiffbeing granted a

        forbearanceand/ordefermentatthe date and tim ePlaintiffwasapproved and/orreceived

        disbursem entofsaid loan.

     43.PlaintiffDavidHadden laterinquired abouttheBarlk'saddresslocation and registered

        agent,in which M s.Larson stated shewastheBank'sregisteredAgent:nd thatPlaintiff

        could send any docum entspertainingtothiscasedirectly to Itichland State'sBnnk.

                                         8
Case 9:18-cv-81385-KAM Document 1 Entered on FLSD Docket 10/16/2018 Page 9 of 37




     44.Richland StateBarlk PresidentJoneLarson stated Plaintiffsoriginalaccountwas

        imm ediately transfenrd asofthedateofPlaintiffsloan approvalSeptem ber4,2014,to

        DefendantUniversity Accounting Selwices,also known by thename GIUAS''andthe '

        Bank,(RichlandStateBarlklhasnootherinformationontheaccotmtbecauseall
        inform ation pertaining to Plaintiff'sloan wastransfen'
                                                              edand conducted by Defendant

        U A S im m ediately follow ing Plaintiff s loan approvaldate.

     45.In addition,Richland State'sBarlk PresidentJoneLarsonprovidedPlaiptiff,Defendant

        University AccountingServicescontactnumberin which Plaintiffimm ediately

        contacted.
     46.Atthistime,'plaintiffDavid Hadden hadno knowledgeofUniversity Accounting

        Services,and/orTransworld System sInc,neitherhad David Hadden everbeen contacted

        and/orprovided infonnation University Accounting ServicesweresenicingPlaintifrs

        loan from Richland StateBnnk,and/orTransworld Systemslnc.possessingPlaintiffs

        accountin collection.
     47.On June 11,2018PlaintiffDavid Hadden contacted DefendantUrliversityA ccounting

        Servicesand spoke with Defendant'srepresentativewho stated hername asGregina

        Vergaraand identifiedhertitle asateam leader.
     48.PlaintiffDavid Hadden respectfully requested to speak with Defendant'ssupervisor,who

        identised hername asJanetIporac.PlaintiffinformedDefendantsupervisorIporacofthe

        Creditor,Everglades College and the inaccurate inform ation U niversity A ccounting

        Services w ere falsely and inaccurately reporting to the creditreporting agency regarding

        a constlm er debtPlaintiffdid notow e,neitherknew the Creditor.

                                          9
Case 9:18-cv-81385-KAM Document 1 Entered on FLSD Docket 10/16/2018 Page 10 of 37




      49.PlaintiffDavid Hadden identified two differentnames,EvergladesCollege,and UAS,

         both reporting false,inaccurate,and negativeinformation asPlaintifpsCreditor,tothe

         creditreporting agency m aking itappearfalsely therearetwo differentaccounts.

      50. PlaintiffDavidHadden disputed both accounts,includingthedebtin itsentirety,the

         am ountofthe debtandDefendantsunlawfulproceduresitwasusing to collectadebt

         Plaintiffdid notdid notowe and wasdisputing.
      51.Defendantsupervisorlporac,with deliberate indifference stated UniversityAccounting

         Serviceshad been sendingPlaintiffDavidHadden lettersregarding PlaintiY sdelinquent

         accountsince September2014 through August2015.Defendr trepresentative Iporac

         wenton to stateUniversityAccounting Serviceshad been m ailing Plaintiffmonthly

         paymentsintheamountofFiftyDollars($50.00)thatbeganM ay27,2014through
         December2014,and thatPlaintifffailedto maketim ely payments.

      52.UniversityAccounting Services,atthistim ehad been reporting the falseand inaccurate

         infonnation to the creditreportingagency,withoutinforming David Hadden within thirty

         (30)daysasrequired,inviolation oftheFCRA,andFDCPA.
      53.Defendant'sclaim showeverwereinaccurate and falsebecausePlaintiffDavid Hadden

         wasnotapprovedfordisblzrsementofhisloanatRichlandStateBank,(whileattending
         KeiserUniversity)untilSeptember4,2014.Plaintiffreceivingtheftmdsfrom the
         disbursem entneverhappened untilamuch laterdate.

      54.M oreover,Plaintiffloan approvalalso cnm ewith afull-defennentapprovalprecluding

         Plaintifffrom the obligation ofm nking im m ediate paym ents while attending classesat-

         leasthalf-time.(SeePlaintiffExhibitArattached hereto.)
                                        10
Case 9:18-cv-81385-KAM Document 1 Entered on FLSD Docket 10/16/2018 Page 11 of 37




      55.Priorto Plaintiffapplying foraloan,and/orreceiving initialdisblzrsem entofhisloan in

         September2014,University Accounting Serviceshad predeterm ined itwould arbitrarily

         changethetermsofPlaintiffsagreementand initiatesending montlzlypaym entsto be

         duein M ay 2014 forthepurposeofcreating an illegitimatedebt.

      56.DefendantUniversityA ccounting Selwicesattemptto collecta debtagainstDavid

         Hadden wasan illegalprofitschem eintended to unlawfully breach thepartiescontract

         before itbegan.
      57.M oreover,atno tim einvolvingthisaction did PlaintiffDavid Hadden receivenotice

         from Richland StateBank oftheBank transfening ofPlaintiff's10= ,alzd/oradelinquent

         accountnoticgoranyotherform ofnoticeofpaymentbyUniversityAccounting
         Services.
      58.ThefactthatDefendantUniversityAccotmting Serviceswould besubmittingto Plaintiff

         DavidHadden adebttopay9om aCreditorthatisnotthePlaintiffs,(Everglades
         College),regardinganotethatPlaintiffdidnotownorwasobligatedtopayisdirect
         evidenceofclearelw rand/orfraud.

      59.W hen David Hadden questioned University Accounting Services

         representativeIporacaboutPlaintiff'sdefennentand/orforbearaqce,and whetherDavid

         Hadden,had adefermentwith hisaccount,DefendantrepresentativeIporac,stated

         Plaintiffhad adefermentf'
                                 rom thedateofJuly 24,2014 tlarough April2015.

      60.DefendantrepresentativeIporac,then stated thatbecausePlaintiffDavid Hadden failed to

         m akepaym entsfollowing the end dateofPlaintiffsdeferm entin April2015 Plaintiffs
Case 9:18-cv-81385-KAM Document 1 Entered on FLSD Docket 10/16/2018 Page 12 of 37




         accountwastransferred on September9,2015 to Transworld System s1nc for

         Collection,an amountunlawfully ekceeding the originalloan from Richland StateBank.

      61.Although David Hadden hasrequested adebtvalidation from each Defendant,University

         AccountingServicesrepresentatives,hasreftlsedtoprovidethevafidationandhas
         referred Plaintifftoitswebsitefordetailinformation Plaintiffhasrequested and in which

         Defendantsknew thewebsitedid notprovide.

      62.UniversityAccounting Selwiceshasbeen allowingillegitimatedebtpaymentsto accrue

         againstPlaintiffsinceM ay 2014,tluough Septem ber9,2015,when therewasno legal

         debt,orinterestaccruement,authorized by David Hadden'soriginalagreement.

      63.In addition,based on the originalloan application from Richland StateBnnk,Plaintiff

         D avid H adden,understood he wasobligated to repay the m axim um am ountO ne

         Thousand,ThreeHundred,Sixty-TwoDollars,($1,362.00)andanyadditionalfunding
         waspartofaPellgrantDavid Hadden asaresidentwasallotted bythe State ofFlorida,

         thatdidnotrequirerepaymen/.(SeePlaintiffExhibitB).
      64.PlaintiffDavid Hadden raisethisissuedueto UniversityAccounting Services,clear

         misrepresentation and f'
                                rapdulentconductrelating toPlaintiff'soriginalagreem entwith

         Richland StateBank in Septem ber2014.

      65.DefendantrepresentativeIporac,claim ofDavidHadden having an approved deferm ent

         atatime and datePlaintiffwasnotobligated to m akepaymentsand University

         A ccounting Sen ices,yet,claim ing itm ailed to Plaintiff tm ontlaly paym entsathis hom e
                                                                                   .




         intheamountoffiftydollars($50.00),areinconsistent.
Case 9:18-cv-81385-KAM Document 1 Entered on FLSD Docket 10/16/2018 Page 13 of 37




      66. DavidHadden atthistim edem anded University Accounting Servicessend Plaintiffa

         validation ofthedebtitclaimed Plaintiffowed and/orrem ovethenegativereportingfrom

         Plaintiffscreditfilebecause Plaintiffdid notoweadebtDefendantUAS wasclaiming,

         including disputingowingadebttotheCreditor,EvergladesCollege.

      67.DefendantsupervisorIporacstated University Accounting Serviceswasstanding by its

         reporting,and thatDefendantno longerhasPlaintiff'sfile,asithadbeen

         transfen'ed to Transworld System s1nc asofthedateofSeptem ber9,2015in theamount

         owedofFiveThousand,OneHundredNinety-sixDollars64/00(5,196.64).
      68. University Accounting ServicesandTransworld System sIncworking in syn were

         falsely representing an illegitim atedebtithadknown orshould haveknown David

         H adden did notow e.

      69.To date,UniversityAccounting Servicesand Transworld System sInc,hasfailed to

         validate the debtitclaim s D avid H adden ow e,notw ithstanding PlaintiffD avid H adden
                                                      .            J'

         having inform ed University Accounting Servicesand Transworld System sInc.,both

         orally and in writing regardingPlaintiffçsrequestofadebtvalidation.

      70.On September9,2015,UniversityA ccounting ServicessurreptitiouslytransferredDavid

         Hadden purported delinquentaccountto Defendant

         Transworld SystemsInq.forcollection,in which Plaintiffwasnevercontacted.

      71.D efendants'illegitim ate debtclaim againstD avid Hadden continued to accrue illegaland
                     j            '
         unwarranted interestand debtpaym entnotauthorized by Plaintiff's originalagreem ent.
Case 9:18-cv-81385-KAM Document 1 Entered on FLSD Docket 10/16/2018 Page 14 of 37




      72.Although,Transworld System sInc.haspossessed adebtcollection accounton David
         Hadden,includingreporting inaccurate and negative information to aconsumerrepo'rting'

         agency since September9'
                                ,2015,Transworld System slnchasfailed to contactthe

         consumerregarding thedebtand the negativereporting within thirty daysin vidlatipn of

         the FCM ,and the FD CPA .

      73.DefendantsTransworld SystemsInc.atld University Accounting Servicesfailureto

         reasonably contactDavidHaddenconsideringtùecircllmstancesallegedherein
         dem onstrate Defendantsattem ptto collecta debtthatinvolvescollusion ofan
                                                             h

         unwarranted and illegalprofitschem e.

      74.FollowingPlaintiffDavid Hadden'sconversation with DefendantUniversity Accounting

         ServicesrepresentativeIporac,Plaintiffcontacted Transworld System sInc.,and spoke

         with DefendantrepresentativeRobin Daviswho identifed herselfasa collection

         supervisor.

      75.DefendantsupervisorRobin Davisconfirm ed Transworld System sInc.receiving David

         Hadden'scaseonthedateofSeptember9,201j,from UniversityAccountingSelwices;
         how ever,D efendantw ould notconfinu w hat,ifany,attem pts Transw orld System slnc.

         madeto contactPlaintiffregarding PlaintiffDavidHadden'spurported debtitreceived
            ê                 $
         from University Accoimting Services,and Transworld System sInc.,reporting negative

         inform ation to the CreditBureau.

      76.Section 623(a)(7)oftheFCRA requiresUpiversityAccountirigServicesandTransworld
         Systems1nctodisclosetoconsumersnolaterthanthirty(30)daysafterDefendants
                                                         '
                                    ,

         reportnegativeinformation aboutthe consum erto a consllmerreporting agency.

                                        14
Case 9:18-cv-81385-KAM Document 1 Entered on FLSD Docket 10/16/2018 Page 15 of 37



      77.Thenegativeand illegitim atedebtinformation University Accounting Services

         transferredto Transworld System sInc.and consequently both Defendantsreporting false

         inform ationto acreditreportingagency wasadirectviolation ofthe 1aw in which

         Defendantshad known orshouldhaveknown to beablatantviolation ofthelaw ,and

         unfairto Hadden,in Defendants'attem ptto collecta debt.

      78.M oreover,though Transworld System sIncpossessed PlaintiffsDavid Hadden file since

         September9,2015,atnotim epriorto thistim e,Defendantm ade any reasonableefforts

         to contactPlaintiffto disputeorpay thepurported debtDefendants'claim Plaintiffowed,

         though Defendants'had lcnownPlaintiffsem ergency contactnum bers,includingPO

         Boxande-mailaddress.(SeeoriginalApplication attachedasPlaintiffExhibitB)
      79.PlaintiffDavid Hadden atthistimebeganto addressTransworld SystemsInc.and UAS

         reporting a debtagainstPlaintiffunderthennm eofEvergladesCollege.Plaintiff

         informed DefendantrepresentativeRobinDavis,Plaintiffhasno knowledge of

         EvergladesCollegeand disputed theentiredebtoftheaccount.

      80.DefendantTransworld System sInc.representativeRobin Davis,however,only wanted to

         talk further,ifPlaintiffhad intended topaythe collection Plaintiffwasdisputing.

      81.On June 15,2018David Hadden again contacted University Accounting

         Servicesand spokewith Defendantrepresentativewho identiGedlaimselfasCaina

         Alexander.
      82.DavidHadden discussed with DefendantrepresentativeAlexanderaboutPlaintiffs

         defermentthatwasapproved with Plaintifrs1oan disbursementon the dateofSeptem ber

          4,2014.

                                     15
Case 9:18-cv-81385-KAM Document 1 Entered on FLSD Docket 10/16/2018 Page 16 of 37



      83kDefendantrepresentativeAlexanderafterplacingPlaintiffon hold forseveralm inutes,

         returned andstatedPlaintiffDavidHaddenhad beenprovidedone(1)defermenton
         Plaintifrsaccount.However,Defendantrepresentative Alexanderlaterchanged the

         numbertosaythatPlaintiffhadbeenprovidedihzeedefermentsonPlaintiff'saccotmt.
      84.DefendantrepresentativeAlexanderstatedthedatesPlaintiffhadbeen granted the

         defermentswereon thedatesof(1)July27,2014,(2)September4,2014,and(3)Januazy
         27,2015.W hen Plaintiffquestioned Defendantrepresentativeabouttheirregulardates

         and length oftim eofthe defermentsDefendantrepresentative seemedto haveno

         reasonable and honestanswerto Plaintiff'squestion.

      8s.Nevertheless,bavidHaddenhadnotrequestedorreceivedaloanattheûrstdate
         DefendantrepresentativeAlexandergaveJuly 27,2014 becauseatthisdateand time

         Plaintiffhad notapplied.

      86.M oreover,David Hadden neverinquired orhad ltnowledge ofPlaintiffneeding orbeing

         granted severaldeferm entapprovalsin such sm allincrem entsoftim eon said

         dates,particularly,atthistim ewhen Plaintiffhad notreceived oroffcially been

         approved förany funding.
      87.DefendantUniversity Accounting Serviceswasunilaterally selecting Plaintiffsdatesof

         defermentand/orforbearancerequestdateswithoutDavid Hadden'sawarenessorlegal

         authorization,whilearbitrarily determiningtheextension oftim ein which thedeferments

         would be extended.
Case 9:18-cv-81385-KAM Document 1 Entered on FLSD Docket 10/16/2018 Page 17 of 37




      88.OnJune 18,2018 David Hadden again contacted University Accounting

         Servicesand spokewith DefendantrepresentativeAndreM drews.Each tim ePlaintiff

         David Hadden spoke with UniversityAccounting Servicesrepresentatives,Defendant

         representatives,provided varying accountinfonnation regarding the snmequestions

         and/orissue.

      89.Defendantrepresentative AndreAndrewswould notconfirm whetherDefendantatany
                                                                     J
         timem ailed PlaintiffDavidHadden verifiedm ailthatwould confirm DefendantUA S

         attemptto contactPlaintiffDavid Hadden dmingthetimein 2014 Defendantsclaimedit

         madeeffortsto contactPlaintiffforintbrm ing Plaintiffregarding hisdelinquent,and

         ultim ately defaulted accotmt.

      90.Although Defendantverified ithadPlaintifftelephonenum ber,PO Box,and e-mail

         addressDefendantAndrewsadm itted DefendantUA S neverreached outto contact

         Plaintiffbythosemeans.
      91.In addition,although UniversityAccotmting Servicesrecorditscallswhen custom erscall

         theirofficesorwhen Defendantscontactcustom ersto collectadebtand forother

         businesspurposes,University Accounting Servicesadm itted ithad no verifiableproof

         from Defendantsrecordingsthatitmade any attemptson theaforementioned datesto

         contactPlaintiffasalleged when Defendantsclaimed PlaintiffDavidHadden'saccount

         wasin defaultorwouldbetransferred to Transworld SystemsInc,asa collection
         '
             account.



                                          17
Case 9:18-cv-81385-KAM Document 1 Entered on FLSD Docket 10/16/2018 Page 18 of 37




      92.David Hadden lateragain,on oraboutJune 18,2018 called and contacted Defendant

         University AccountingServicesand spoke with Defendantrepresentativewho identiûed

         herselfas

         Alyssa Tinals.UAS representative Tinalsstated Defendantsmailed Plaintiffdelinquent

         paym entsto bepaid on thedatesofOctober4,2014,Novem ber4,2014,and Decem ber

         4,2014,datesin which Defendantseadierstated Plaintiffhad been approved for

         deferment.

      93.In June2018PlaintiffDavid Hadden hired andrequested thecreditagency CreditRepair
         DotCom to help rem ovetheinaccurateinform ation DefendantUniversityAccounting

         Servicesfalsely reported againstDavid Hadden,prim arily Plaintiffowing adebtto

         EvergladesCollege,which Plaintiffhasdenied,andtheam otmt.

      94.M oreover,PlaintiffDavidHaddendisputedtheillegitimatedebt,EvergladesCollege,and
         U A S,falsely reported by University A ccounting SeN ices and Transw orld System sInc.,

         making itappearthere aretwo delinquentaccounts.

      95.Though theCreditReporting Agency initiated University Accounting Sezvicesto

         reinvestigatetheclaimsPlaintiffwasdisputing,(EvergladesCollegeandUAS),
         Defendantsfailed tore-investigatethedisputeand thefalseand negative claim srem ain to

         datefurnished by DefendantsTransworld System sInc,and University Accotmting

         Selvicesin violation ofboth theFCRA,andFDCPA .
      96.The CreditRepair Com pany further verified University A ccounting Services had been

         reporting negative inform ation againstPlaintiffDavid Hadden in early 2017underthe
Case 9:18-cv-81385-KAM Document 1 Entered on FLSD Docket 10/16/2018 Page 19 of 37



         samecreditor'snnm eofEvergladesCollege,who disputed theinaccurateinformation

         and afteran investigation theinaccurateinformation wasremoved.However,to date

         Defendanthasinitiated and furnished the snme identicalinaccurateinformation against

         Plaintiffscreditbutrefusetore-investigate orhavetheillegitimate debtclailhsremoved

         from David Hadden'screditûlethough itisaware oftheirlform ation being inacclzrate.

      97.PlaintiffDakid Hadden hasdisputed both accountsfrom each Defendantsnnm ed in this

         suitauthorizing each Defendantto removePlaintiffsnamefrom the consumerreporting

         agency dueto thefalse,m isleading and/orinaccurateinfpnnation.

      98.Dueto DefendantsUniversity Accounting Services,and Transworld System sInc.false

         and inaccuratecollection ofadebtagainstPlaintiffDavid Hadden,Plaintiffwasforcedto

         cancelPlaintiffsLaw SchoolAdmission Testdatefrom June2018,to September8,

         2018,foreclosing Plaintiffopportunity to attend law schoolin 2018,and causing other

         distressam ong Plaintiffand hisfamily.

      99.In June2018 David Hadden spokewith severalotheremployeesofUrliversity

         Accounting Servicesand Transworld System sInc,whosennm esareArron W illinm sof

         TransworldSystemsInc,andDaisy,ofUniversityAccounting Services.
      100.      PlaintiffDavid Hadden requested adebtvalidation from both Defendantshehas

         yetto receive.H ow ever,U A S representative D aisy com m unicated Defendanttm derstood

         Plaintiff'srequestand would send Plaintifrsrequestviae-m ail,in which Defendant

         representativedismissivelydidso.(SeeExhibitC,attached)
      101.       PlaintiffDavidHaddenisentitledtojustcompensationforDefendantsdeliberate
         indifference and theharmscaused involving the instantaction.
Case 9:18-cv-81385-KAM Document 1 Entered on FLSD Docket 10/16/2018 Page 20 of 37




                VIOLATION OF SECTIO N 5 OF THE FTC ACT
                                    C O UN T I
                                Lack ofReasonableBasis
      102.      Plaintiff,re-allegeandincorporatebyreferenceherein theallegationssetforth in

         paragraphs 4-101 ofthisCom plaint.

      103.       Section 5(a)oftheFTC Act,15U.S.C.j45(a),prohibitsSstmfairordeceptive
         actsorpracticesinoraffectingcommerce.Anactorpracticeisunfairwhenit(1)causes
         orislikelytocausesubstantialinjury(usuallymonetary)toconsumers,(2)cnnnotbe
         reasonablyavoidedbyconsumers,and(3)isnotoutweighedbycotmtelwailingbenefitsto
         consum ersOrto com petitioh.

      104.      DefendantsUniversity Accounting ServiçesL.L.C.andTransworld Systemslnc.

         through the m eans ofattem pting to collectand/orto create an illegitim ate debtasalleged

         in paragraph 29-101,hasfalsely represented thatPlaintiffDavid Hadden oweavalid debt

         in the afore m entioned case.

      105.      lkichland StateBanlcand University Accounting Serviceshasm isrepresented

         David Hadden'sdefennentapprovaldateand length oftim eDefendantRicilland State

         Bank authorized and approved on September4,2014 involvingthisaction.

      106.      University Accounting Serviceshassufficientreason tobelieveDavidHadden's

         accountinform ation is inaccurate

      107.      In truth and in fact,them aterialrepresentationssetforth in paragraphs29-101are

         falseorm isleading,orDefendantsdidnothave areasonablebasisfortherepresentations

         and/orm isrepresentationsatthetimetherepresentationsweremade.Therefore,the
                                    I'N .
         representationssetforth in Paragraphs29-101arefalseorm isleading and constitute

                                   20
Case 9:18-cv-81385-KAM Document 1 Entered on FLSD Docket 10/16/2018 Page 21 of 37




         deceptiveactsorpracticesinviolationofSection 5(a)oftheFTC Act,15U.S.C.j45(a).
                     TH E FA IR CR EDIT R EPO R TIN G A C T

      108.      TheFCRA wasenactedin 197ôandbecameeffectiveonApril25,1971andhas
         been in force sincethatdate.In 1996 theFCRA wasnmended extensivelyby Congress.

         Am ong otherthings,Congressadded Section 623 oftheAct,which becam eeffectiveon

         O ctober 1,1997.

      109.      Section621oftheFCRA,15U.S.C.j1681s,authorizestheCommissiontouse
         allitsfunctionsand powersundertheFTC Actto enforcecompliancewith theFCRA by

         al1person'ssubjecttheretoexcepttotheextentthatenforcementspecificallyis
         comm itted to som eothergovem mentalagency,irrespectiveofwhethertheperson is

         engagedincommerceormeetsanyotherjurisdictionaltestssetforthbytheFTC Act.
      110.      ForpurposesofSection623(a)(7)oftheFCRA,15U.S.C.j 1681s-2(a)(7),
         çtnegative infonnation''m eansGlinform ation concem ing a custom er'sdelinquencies,late

         payments,insolvency,oranyform ofdefault''15U.S.C.j1681s-2(a)(7)(G)(i),andthe
         term sçGfinancialinstitution''and itcustom er''havethe sam em eaningsasin Section 509

         PublicLaw 106-102,15U.S.C.j680943).15U.S.C.j1681s-2(a)(7)(G)(ii).

                 V IO LA TIO N S O F T H E FA IR C RED IT REPO R TIN G A C T
                                   CO U N T 11

                       ViolationsofSection 623(a)(1)(A)

      111.      Plaintiff,re-allege and incom orate by reference herein the allegations setforth in

         paragraphs4-101ofthis Com plaint.
Case 9:18-cv-81385-KAM Document 1 Entered on FLSD Docket 10/16/2018 Page 22 of 37




      112.      In theinstantaction,University Accounting Services,and Transworld Systems

         Inc.failed toremovethe inaccurate,falseand negative information,orprovideam itten

         statementwithinthirty(30)daysofnoticeofhisdisputeastotheacclzracy ofthe
         inform ation provided to tw o ofthe three consum erreporting agencies.

      113.      Although David Hadden hasdisputed every aspectofowing a debtinvolving this

         action,Defendantshasfailedto investigateand/orreinvestigatePlaintiffscomplaintof

         inaccurate inform ation,orcorrectthe false infonnation provided to the agenciesthough it

         hasbeen noticed from the consum erreporting agency to do so.

      114.       Section623(a)(1)(A),and 16U.S.C.j1681s-2oftheFCRA prohibitsfurnishers
         ofinform ation to consllm erreporting agenciesfrom furnishing any inform ation relating

         to a consumerto any consumerreporting agency ifthefum isherknowsorhasreasonable

         causeto believethattheinformationisinaccurate.15U.S.C.j 1681s-2(a)(1)(A)
      115.       Through them eansdescribed in Paragraphs4 -101,in comwction with f'urnishing

         infonnation relating to a consum erreporting agency,DefendantsUniversity Accounting

         Selwices,andTransworld System sInc.hasftmlished such inform ation whileknowing or

         having reasonable causeto believethattheirlformation wasinaccurateandïorfalse.

      116.      Theactsand practicesalleged in Paragraphs112-115constitm eviolationsof

         Sections623(a)(1)(A).Pursuantto Section621(a)(1)oftheFCRA,15U.S.C.j
         1681s(a)(1),theactsandpracticesallegedinparagraph 112-115,also constitutetmfairor
         deceptiveâctsOrpracticesinviolation ofSection5(a)oftheFTC Act,15U.S.C.j45(a).
                                 CO U NT III

                         ViolationsofSections623(a)(7)
Case 9:18-cv-81385-KAM Document 1 Entered on FLSD Docket 10/16/2018 Page 23 of 37




      117.      Section 623(a)(7)oftheFCRA requiresthat,ifanyfinancialinstitutionthat
         extendscreditto custom ersand regularly and in theordinary cotlrseofbusinessfurnishes

         negativeinformation aboutacustomerto aconsum erreporting agency,thefinancial

         institution shâllprovidethecustom erwith a clearand conspicuouswritten noticeabout

         the funzishing ofsuch negative irlfbrm ation no laterthan thirty daysafterthe financial

         instim tion f'urnishesthenegativeirlfonhation to the consum erreporting agency.15

         U.S.C.j1681s-2(a)(7).
      118.      RichlandStateBnnk,UniversityAccounting ServicesL.L.C.(UASL.L.C.)and
         Transw orld System s Inc.are (tfinancialinstim tions''w ith Gçcustom ers''as defined by

         Section623(a)(7)(G)(ii)oftheVCRA,15U.S.C.j 1681s-2(a)(7)(G)(ii).
      119.      Itichland State Bank,UAS and Transworld System slnc.furnishesttnegative

         information''aboutitscustom ersregarding creditextended to custom ersto consum er

         reportingagenciesasçsnegativeinfonnation''asdefinedinSection623(a)(7)(G)(i)ofthe
         FCRA,15U.S.C.j 1681s-2(a)(7)(G)(i).
      120.      In otherinstances,andby themeansdescribedin Paragraph 4-101Defendants

         Richland State Bank,U niversity A ccounting Servicesand Transw orld System s Inc has

         worked in sync,in cormection with collecting a debtandthefurnishing ofnegative

         information aboutPlaintiffto aconslzm erreporting agency.Defendantshasfailed to

         providePlaintiffDavidHaddenwiththewrittennoticerequiredby Section623(a)(7)no
         laterthan thirty days afterfurnishing the negative inform ation to the consum erreporting

         agency.
Case 9:18-cv-81385-KAM Document 1 Entered on FLSD Docket 10/16/2018 Page 24 of 37




      121.      Theactjandpracticesalleged in Paragraphs 120 constitute violationsofSection

         623(a)(7)oftheFCRA,15U.S.C.j 1681s-2(a)(7).PursuanttoSection621(a)(1)ofthe
         FCRA,15U.S.C.j1681s(a)(1),theactsandpractices'alleged in 120alsoconstitute
         unfairordeceptiveactsorpracticesinviolationofSection5(a)oftheFTC Act,15
         U.S.C.j45(a).
                                     CO U N T IV

                             ViolationsofSection 623(b)(1)
                                                           %

      122.      Section 623417)oftheFCRA requiresfurnishersofinfonnationtoconstlmer
         reporting agenciesto conductareasonableinvestigation when thefurnisherreceivesa

         notice ofdispute regarding the com pleteness or accuracy ofthe reported infonnation

         from aconsuGerreportingagencyinaccordancewiththeprovisionsofSection611(a)(2)
         oftheFCRA,15U.S.C.j1681i,andtoreporttheresultsoftheinvestigation tothe
         consumerreportingagency.15U.S.C.j1681s-2(b).
      123.      In ntlmerousinstancesand through themeansdescribed in Paragraphs4 -101,

         University Accounting Servicesalzd Transworld SystemsInc.,failed to investigatealzd/or

         re-investigatePlaintiffDavidHadden'sdispute ofhisclaim salleged in thissuit.

      124.      Theactsandpracticesallegedin Paragraph 123 constituteviolationsofSection

         623(b)oftheFCRA,16U.S.C.j1681s(a)(1),theactsandpracticesallegedinParagraph
         123alsoconstituteunfairactsorpracticesinviolationofSection5(a)oftheFTC Act,15
         U.S.C.j45(a).
Case 9:18-cv-81385-KAM Document 1 Entered on FLSD Docket 10/16/2018 Page 25 of 37




                         FAIR DEBT COLLECTION PM CTICES ACT

         In 1977,CongresspassedtheFDCPA,15U.S.C.jj1692- 1692p,whichbecame
         effectiveOn M arch 20,1978 andhasbeen in forcesince thatdate.Section 814 ofthe

         FDCPA,15U.S.C.j16921,authorizesthecommissiontousea11itsfunctionsandpowers
         tmdertheFTC Actto enforce compliance with theFDCPA by any debtcollector,

         irrespectiveofwhetherthatdebtcollectorisengaged in commerceorm eetsany other

        jurisdictionaltestssetbytheFTC Act.TheauthorityoftheCommissioninthisregard
         includesthepowertoenforcethe provisionsoftheFDCPA in thesamem armerasifthe

         violationsoftheFD CPA w ere violationsofa FederalTrade Com m ission trade regulation

         rule.

      125.       Section 80347)oftheFDCPA delinestheterm çllocationinformation''asmerming
         a consumer'splaceofabodeand theconsllm er'stelephonenum beratsuch place,orthe

         conmlmer'splaceofemployment.15U.S.C.j1692a(7)
         VIO LA TIO N S O F TH E FA IR D EBT CO LL ECTIO N B PR ACTIC ES A C T

                                  COUNT V

      126.       Plaintiff re-allegeandincorporatebyreferencehereintheallegationssetforth-
                                                                                         in
         paragraphs4-101 ofthis Com plaint.

      127.       DefendantsUniversity Accotmting Services,and Transworld System sInc.

         violated theFDCPA by çdfalsely representing the character,nmount,orlegalstatusofthe

         debtaiguedinthissuit''and:bythècollection ofanyamolmt(including anyinterest,fee,
         charge,orexpenseincidentaltotheprincipalobligation)notauthorizedbytheagreement
         creating a debtnotperm itted by law .

                                         25
Case 9:18-cv-81385-KAM Document 1 Entered on FLSD Docket 10/16/2018 Page 26 of 37




      128.      DefendantUniversityAccotmting Services,and Transworld System s1nc

         knowingly m isrepresenting and falsely identifyingPlaintiffDavid Hadden'screditoras

         EvergladesCollege,including UAS,and falsely reporting inaccurateand negative

         inform ation to aconsum erreporting agency regardinga debt,when theinform ation was

         disputed andDefendantsnotperform ing areasonableinvestigation ofthedisputed

         infonnation afterbeing initiated bythecreditbtlreau agency,violated FDCPA.

      129.      DefendantsUniversity Accounting Selwicesand Transworld System slnc.,

         furnishing inacctlrateand negativeinfonnation againstPlaintiffto aconsllmerreporting

         agency ofafalsecreditor,debt,am otmt,and seekingto enforcecollection on a debtit

         knew wasnotlegitimatewas(tdeceptive''inviolation ofFDCPA 15U.S.C.j1692e(10).
      170.      D efendantsU niversity A ccounting Servicesand Transw orld System sInc.

         willfully violated the FDCPA by furnishing EvergladesCollege,and UA S to acredit

         reporting agency,two differentnamesforthesamé accountthatwasintended tobe

         deceptive.

      131.      In num erousinstances and through the m eans described in Paragraphs4 -101,in

         connectionwiththecollectionofdebts,UniversityAccountingServices(UAS)and
         Transworld Systemslnc,directly orindirectly,hasfalsely identified and misrepresented

         thedebtam ount,character,and/orlawsin violation oftheFDCPA .

      132.      Theactsand practicesalleged in Paragraph 127-131,constitute violationsof

         Section80443)oftheFDCPA,15U.S.C.j1692b(3),15U.S.C.j1692e(10).Ptlrsuantto
         Section 814(a)oftheFDCPA,15U.S.C.j1692(a),theactsandpracticesallegedin


                                       26
Case 9:18-cv-81385-KAM Document 1 Entered on FLSD Docket 10/16/2018 Page 27 of 37




        Paragraph 127-131also constituteunfairordeceptiveactsorpracticesin violation of

         Section 5(a)oftheFTC Act,15U.S.C.j45(a).
                                         CO UN T V I

                                    V iolation of Section 807

      133.      Section 807oftheFDCPA,15U.S.C.j 1692e,prohibitsdebtcollectorsfrom
         usingany false,deceptive,orm isleadingrepresentation orm eansin connection with the

         collectionofanydebt.Section807(2)(A),15U.S.C.j1692e(2)(A),specifcallyprohibits
         thefalse representation ofthecharacter,amount,orlegalstatusofany debt,while

         Section 80748),15U.S.C.j1692e(8),prohibitscommunicatingorthreateningto
         comm unicateto anyperson creditinformation which isknom zorwhich should bekllèwn

        to befalse,including thefailuretocom municatethatadisputed debtisdisputed,and

         Section801(10),16U.S.C.1692(e)(10),prohibitsusingfalserepresentationsordeceptive
         meansto collectorattemptto collectany debtorto obtain inform ation concem ing a

         Con sum er.

      134.      ln the instantaction,and by meansdescribed in Pazagraphs4-101,in connection

         with thbcollection ofdebts,DefendantsUA S and Transworld System sIncworldng in

         syncin connection to collectadebtintheafore mentioned casehas,directly orindirectly,

         used false,deceptive,ormisleading representationsorm eans,in violation ofSection 807

         oftheFDCPA,15U.S.C.j1692e,includingbutnotlimitedto,thefollowing:


                                       27
Case 9:18-cv-81385-KAM Document 1 Entered on FLSD Docket 10/16/2018 Page 28 of 37




     a. Regarding theinstantaction,University Accounting Services,and Transworld System s

         lnc.,working in sync,directly orindirectly hasusedfalserepresentationsconcem ing the

         character,amount,orlegalstatusofadebt,inviolationofSection 807(2)(A)ofthe
         FDCPA,15U.S.C.j1692e(2)(A);
     b. Regarding the instantaction,UAS and Transworld Systems1Ac.,working in sync,

         directly orindirectly,hascommunicated creditinformation to aconstzm erreporting

         agencythatitknew,orshouldhaveknown,tobefalse,inviolationofSection 807(8)of
         theFDCPA,15j 1692e(8);and
      c. Regardingtheinstantaction,University Accounting Services,and Transworld Systems

         lnc.,working in sync,directly orindirectly,hasused falserepresentationsordeceptive

         meansto collectorattemptto collectany debtorto obtain infbrmation concerning a

         consumerinviolationofSection 807(10)oftheFDCPA,15U.S.C j 1692e(10)
      135.      The actsand practicesalleged in Paragraph 134,constitute violations ofSection

         807oftheFDCPA,15U.S.C.j1692e.Pursuantto Section 814(a)oftheFDCPA,15
         U.S.C.j 16921(a),theactsandpracticesallegedinParagraph 134alsoconstituteunfair
         ordeceptiveactsorpracticesinviolationofSection5(a)oftheFTC Act,15U.S.C.j

         45(a).
                               COUNT VIl

                         ViolationsofSection 809

      136.        Section809(b)oftheFDCPA,15U.S.C.j1692g(b),provides,interalia,thatifa
         consumernotifiesaconsumerinwriting,withinthirty(30)daysoftheconsumer'sreceipt


                                      28
Case 9:18-cv-81385-KAM Document 1 Entered on FLSD Docket 10/16/2018 Page 29 of 37




        oftheinitialeom munication from thedebtcollector,thatthe debtisdisputed,the debt

        collectorshallceasecollection ofthedebtuntilthedebtcollectorobtainsandprovide

        verifcation ofthe debtto theconsllmer.

     137.      PlaintiffDavid Hadden hasdirectly contacted DefendantsUniversity Accounting

        Servicesand Transworld SystemsIncboth orally and in writing disputing thedebtin its

        entirety,thecharacter,identity,legaldebtnmount,and Defendantsunlawfulactsto

        collectan illegitimatedebtagainstPlaintiffDavid Hadden.

      138.     ln theinstantaction,through themeansdescribed in Paragraph 4-101,in

        connection with the collection ofdebts,when a consllm erhasnotifiedUniversity

        Accounting Services,and Transworld System sInc.,in writing within thethirty-day

        perioddescribedinSection809(a)oftheFDCPA,15U.S.C.j 1692g(a)thatthedebt,or
         aportion thereofisdisputed,University Accounting Servicesand Transworld System s

         Inc.,hasfailed to obtain andprovideveritk ation ofthedebtto the consum erandhas

         continued to attemptto collectthedebtand reportthedebtto thecreditreportilig agency.

      139.     Theactsmldpracticesalleged in Paragraph 137-138,constituteviolation of

         Section 809(b)oftheFDCPA,15U.S.C.j 1692g(b).PursuanttoSection 814(a)ofthe
         FDCPA,15U.S.C.j16921(a),theactsandpracticesallegedinParagraph 137-138,also
         constituteunfairordeceptiveactsorpracticesinviolationof5(a)oftheFTC Act,15

         U.S.C.j45(a).




                                     29
Case 9:18-cv-81385-KAM Document 1 Entered on FLSD Docket 10/16/2018 Page 30 of 37




                              COUNT VIII
                              NEGLIGENCE

      140.       Plaintiff,re-allegeand incorporate byreferenceherein theallegationssetforthin

        paragraphs4-101 ofthis Com plaint.

      141.       Each D efendant,Richland State Bank,U niversity A ccotm ting Services,and

        Transworld System s1ncowed PlaintiffDavid Hadden,aduty to usedue careatorabout

        thetim eofDefendantscomm encem entinvolving thiscase.

      142.       Each Defendantbreachedtheirdutyin nllmerousinstancesasdescribed in

        Paragraphs4-101,including butnotlimited to circumstanceswhereRichland StateBank

        failed toadequately quantify David Hadden'sdefennentapprovaldate,and/orrequestfor

        deferm entDefendantlcnew had been requestedpriorto Defendant'sapprovalofDavid

        Hadden'sloan and/ordisbursem entoffundsinvolvingthisaction.

      143.       DefendantsRichland StateBank and University Accounting Selwicesbreached

        theirdutiesto David Hadden by fraudulentrepresenting and/orm isrepresenting David

         Hadden'sdeferm entrequest,deferm entapproval,and/ordisprovalon Plaintiffsoriginal

         loan.

      144.       UniversityAccounting Servicesand Richland StateBank breached theirdutyto

         David Hadden by arbitrarilym isrepresenting DavidHadden'sdatesofdeferment,

         including Richland StateBanlcfailingtocontactPlaintiffwithin areasonabletimeas

         required by 1aw when Defendantstransferred David Hadden'saccountirlform ation to

         University A ccotm ting Services.
      145.       ButforDefendantsRichland StateBank andUniversity accotmting '
                                                                             services

         actions,Plaintiffhassuffered lossand dnmagesin thiscase.

                                    30
Case 9:18-cv-81385-KAM Document 1 Entered on FLSD Docket 10/16/2018 Page 31 of 37




      146.     University Accounting Servicesfailureto rem ovean illegitimatecreditorand debt

        itknew orshould haveknown to befalse dnmaged David Hadden'scredit,caused

        monetary losses,and otherlossesand harm to David Hadden asaresult.

      147.     In com mittingtheaforem entioned actsorom issions,each Defendantnegligently

        breachedsaiddutytouseduecare,whichdirectlyandproximatelyresulted intheinjuries
        and damagestoPlaintiffasalleged herein.

                                    CO UNT IX
                      FRAUDULENT M ISREPRESENTATIOY
      148.     Plaintiff,re-allege and incorporateby referencehereintheallegationssetforth in
                                                 !

        paragraphs4-101 ofthis Com plaint.

      149.     Ata11tim es,pertaining to theinstantaction,Richland StateBnnk,and University

        Accounting Servicesrepresented and/ormisrepresented PlaintiffDavid Hadden's '

        defennentapprovalofhis1oalzdisbursed on Septem ber4,2014,including thelength of

        tim e ofthe deferm ent.

      150.     The representationsand/orm isrepresentationsby Richland StateBank and

        UniversityAccounting Servicesregarding David Hadden'sdefermentapprovaland/or

        non-approval,includingthedateand length oftime ofthedeferm ent,wasfalseand/or

        known tobe falseasalleged in thissuit.

      151.     University Accounting Services,andRichland StateBank'srepresentation and/or

        m isrepresentationsofDavid Hadden'sdefermentrequestand/orapprovaldateson the

         datesalleged in thissuit,including the datesofJuly 27,2014,September4,2014 and



                                   31
Case 9:18-cv-81385-KAM Document 1 Entered on FLSD Docket 10/16/2018 Page 32 of 37




        January 27,2015 wasknown to befalseorm aderecklesslywithoutknowledgeofits

        truth atthetim eitwasm ade.

      152.     Defendant!University Accotmting Services,and Richland StateBnnks'sfalse

        representationsweremadewith theintentPlaintiffDavidHadden rely on thestatem ents.
                      ?

      153.      U niversity A ccounting Services,and its representative lporac,and/orits

        em ployeeshad known orshouldhavekni)wn thestatem entwasfalse.

      154.     DefendantUniversity Accounting Services,and itssupervisorlporac,falsely

        represented thatDavid Hadden had neverrequested deferm enton Plaintiffsoriginal

        loan,and/orhadnotbeenapprovedforttdefermentfrom RichlandStateBank,(the
        originallender).
      155.     UniversityAccotmting Servicesfalsely and/orrecldessly m adestatém entsthat
                                                                        P

        Defendantbegan onthe dateofM ay 27,2014,sending m onthly paym entsintheamount

        ofFiftyDollars($50.00)toPlaintiffshomeaddress.
      156.     DefendantUniversity Accounting Servicesrepresentative Iporac,statem ents

         and/orallegationswere false,asPlaintiffDavidHadden,had notatthattime ordate,M ay

         27,2014,requested and/orreceived aloan from Richland StateBank.

      157.     'UniversityAccounting Servicesclaim thatitmailedDavid Hadden m onthly

         statementsregarding adebtPlaintiffwasnotlegally obligatedto pay and Defendant

         fum ishingtheillegitimatedebtto thecreditreporting agency falsely reportinginaccurate

         infonnation itknowstobefalse againstHadden isrecklessand intentional.



                                       32
                                       '
                                        j
Case 9:18-cv-81385-KAM Document 1 Entered on FLSD Docket 10/16/2018 Page 33 of 37




     158.      DefendantsUniversity Accounting Services,and Transworld System sInc.,

        fraudulently continuesto date,to m isrepresentand collectadebtagainstHadden,and

        falsely reporttheinformation tothecreditreporting agency.

     159.      AsaresultofDefendantsillegaland m ongfulactions,Plaintiffhmssuffered loss

        offinancialincomeandopportunitieswithalowercreditscore,enjoymentoflife,lossof
        time,depression,antihindrancefrom attendinglaw schoolin2018,duetodefendingthe
        instantaction,and otherlossesto beaddressattrial.

                                CO U NT X
             INTENTIONAL INFLICTIbN OF EM OTIONAL DISTRESS
      160.     Plaintiff,re-allegeand incorporateby referenceherein theallegationssetforth in

        paragraphs4-101ofthisComplaint.
      161.     A talltim espertaining to the instantaction Defendants conductw asintentional

        and/orrecklessto therightsofPlaintiffDavid Hadden.

      162.     DefendantRichland StateBank'sfailureto inform PlaintiffDavidHadden of

        DefendantUniversity Accounting Servicesinvolvem entin thisaction,largely contributbd

        to theinstantaction being in turmoil,and causing Plaintiff'sdistress.

      163.     HadD avid Hadden known ofDefendantUniversity Accounting Services

        lmwillingnessto grantorhonorPlaintiffsrequestfordeferm entin oratthetim ePlaintiff

        received Plaintiffsdisbursem entin September2014,Plaintiffcould have declined

        receivingtheloan from Richland State Bank,ashewould have.

      164.     R ichland State Bank's intentionalm isrepresentation ofD efendants'knowledge of

        Plaintifpsdeferm entapprovaland/orrequestfordeferm entpriorto September4,2014 is



                                     33
Case 9:18-cv-81385-KAM Document 1 Entered on FLSD Docket 10/16/2018 Page 34 of 37

J



        extrem eand/oroutrageousin thiscircum stance,including UniversityAccounting

        Servicesand Transworld SystemsInc.,false statem entsofPlaintiff'sowingan

        illegitim ate debtto acreditorithad known orshould haveknown to befalse.

      165.     Asadirectand proximateresultofDefendantsdeliberateindifferenceto therights

        ofPlaintiffDavid Hadden,and Defendantsrecklessnessasalleged in Paragraphs4-101,

        Plaintiffhassufferedemotionaldistress,lossofenjoymentoflife,timeandother
        dam agesthatw ould be discussed attrial.

         INJUNCTION FOR VIOLATIONSOFTHE FTC ACT,FCRA,AND FbCPA

      166.     UnderSection 13(b)oftheFTC Act,15U.S.C.j53(b),thisCourtisauthorizedto
        issueapermanentinjunctiontoenstlrethatUniversityAccounting Servicesand
        Transworld System sInc.willnotcontinueto violatetheFTC Act,TheFCRA,and the

        FCDPA .


                      EQUITABLE RELIEF FOR VIOLATIONS OF THE FTC ACT,
                                    FCM ,AND FDCPA

      167.     UnderSection 12(b)oftheFTC Act,15U.S.C.j53(b),thisCourtisauthorizedto
         issue allequitableand ancillaryreliefasitm ay deem appropriatein theenforcementof

         theFTC Act,TheFCRA,and the FDCPAPincludingtheabilityto orderrescission or

         reformation ofcontracts,restitution,thereft
                                                   m d ofmoniespaid,and disgorgem entto

         deprive a w rongdoerofill-gotten gain.

              CIVIL PENALTIES FOR VIOLATIONS OF TH E FCRA

      168.      Section 621(a)(2)(A)oftheFCRA.
                                             ,15U.S.C.j1681s(a)(2)(A),authorizesthe


                                    34
Case 9:18-cv-81385-KAM Document 1 Entered on FLSD Docket 10/16/2018 Page 35 of 37

1



        Courttoaward monetary civilpenaltiesin theeventofaknowingviolation,which
                                                     k


        constitutesapatter.
                          n orpractice ofviolations.UniversityAccounting Senicesand

        TransworldSystemslnc.violationsofSection623(a)(7)and 623(b)oftheFCRA,as
        alleged in thisCom plaint,wereknowing and constituted apattel'n orpracticeof

        violations.AsspecifedbytheFederalCivilPenaltylnflationAdjustmentActof1990,
        28U.S.C.j2861,asnmended,theCourtisauthorizedtoawardapenaltyofnotmore
        than$2,500perviolationforviolationsoccurringonorafterthedate.
      169.     Each instancein whichUniversity Accounting Servicesand/orTransworld

        SystemsInchasfailedto comply with theFCRA in one orm orethan the waysdescribed

        aboveconstitutesa separateviolation ofthe FCRA forthepurposeofassessingm onetary

        civilpenaltiesundersection 621oftheFCRA..Plaintiffseeksm onetary civilpenaltiesfor

        every separateviolation oftheFCRA.

         CIVIL PENALTIES FOR VIOLATIONS OF THE FDCPA

      170.     Section 5(m)(1)(A)oftheFTC Act,15U.S.C.j45(m)(1)(A),and Section 814(a)
        oftheFDCPA,15U.S.C.j16921,authorizetheCouq toawardmonetarycivilpenalties
        forviolationsoftheFDCPA when such violationswerecom mittedw ith actual

         knowledgeorknowledgefairlyimpliedonthebasisofobjectivecircumstancesasset
         forthinSection5(m)(1)(A)oftheFTC Act,15U.S.C.j45(m)(1)(A).University
         Accounting Servicesand Transworld SystemsIncviolationsoftheFDCPA ,asalleged in

         thisComplaint,weremadewith actualknowledgefairlyimpliedonthebasisofobjective
         circumstances.AsspecifedbytheFederalCivilPenaltylntlation AdjustmentActof
Case 9:18-cv-81385-KAM Document 1 Entered on FLSD Docket 10/16/2018 Page 36 of 37




        1990,28U.S.C.j2861,asamendedstheCourtisauthorizedtoawardapenaltyofnot
        m orethan $11,000foreach violation oftheFDCPA before February 10,2009= dnot

        m orethan $16,000 foreach violation oftheFDCPA afterthatdate.
               Each instance in which UniversityAccounting Servicesand/orTransworld

        System s1nchasfailed to comply with theFDCPA in oneorm oreofthewaysdescribed

        above,constitutesaseparateviolation oftheFDCPA forthepurposeofassessing

        monetary civilpenalties.Plaintiffseeksmonetary civilpenaltiesforevery separate

        violation ofthe FDCPA .

                          PR AYER A ND RELIEF

        W HEREFORE,Plaintiff,pursuantto 15U.S.C.jj45(m)(1)(A),53(b),16921,1681s,
        and the Court'sown equitablepowers,respectfully requeststhattheCourt:

        1. EnteraninjunctionrequiringUniversityAccountingServicesandTransworld
           Systemsto rem ovethe dubiousCreditorAccountsfalsely reported againstPlaintiff

           withoutverifiableproofofaccurateand legitimate claims;

        2. EnterapennanentinjlmctiontopreventfutttreviolationsoftheFTC Act,theFCRA,
           and theFDCPA by UniversityAccounting Servicesand Transworld SystemsInc;

        3. ThatPlaintiffbeawarded generaldam agesand thosedamagesto wlaich itmay appear

           David Hadden isentitled by theproofsubmitted in thiscauseforhisphysical,m ental

           and/orconsequentialdamages,includingpain and suffering,both pastand fm ure,

           monetarylossandlossofenjoyment
                                        .oflife,bothpastandfuture.
        4. ThatPlaintiffbeawarded general,compensatory,treble,andpunitivedam ages
Case 9:18-cv-81385-KAM Document 1 Entered on FLSD Docket 10/16/2018 Page 37 of 37




            againstRichland StateBank,University Accolmting Services,and Transworld

            System sInc.

         5. ThatPlaintiffbeawarded monetary civilpenaltiesforeach violation oftheFCRA and

            FDCPA asalleged in thisComplalnt;and
         6. ThatPlaintiffbeawarded reasonable expensesincurred in thislitigation,including

            reasonableattorney fees,aswellassuch otherreliefasforthe Courtmay determ ine

            tobejustandproper.
         7. Plaintiffrequesttrialby Jury.

                                             espectfully Submitted,
                                              ?*
                                             AV ID A D DEN
                                            M ailing Address:
                                            PO B OX 18142
                                            W estPalm Beach,FL 33416
                                             (772)584-4239
                                         1401VillageBlvd.Suite 118
                                         W estPalm Beach Fl33417

                               CERTIFICATE OF SERVICE

         IHEREBY CERTIFY thatatnzeand correctcopy oftheforegoinghasbeen'futmished to
   Richland StateBank,1409W 47thStreetSuite 106,Siotlx Falls,South Dakota,57106,
   TransworldSystemsInc,andUniversityAccountingServicesbyU.S.Mailthis /$'
                                                                        X                day
   ofOctober2018.                                  '
     cc.University Accounting Services
        'CP Corporation System
         1200 South Pine Island Rd.
        Plantation FL 33324

   cc Transw orld System s Inc.
       CP Corporation System
        1200 South PineIslandRd.
       PlantationFL 3332
                                                37
